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                                   STATEMENT OF FACTS

        Your affiant, Michael J. Banfield, is a Special Agent assigned to the Omaha field office of
the Federal Bureau of Investigation (“FBI”). I am a graduate of the FBI Academy in Quantico,
Virginia and have been an FBI Special Agent for approximately one year. I have completed
training and gained experience in interviewing and interrogation techniques, arrest procedures,
search warrant applications, the execution of searches and seizures, and various other criminal
laws and procedures. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              FACTS SPECIFIC TO THIS CASE

        On or about January 8, 2021, the FBI received a tip indicating the presence and
participation of KENNETH RADER in the breach of the U.S. Capitol Building on January 6, 2021.
The tip came from Tipster 1 who identified himself as a relative of KENNETH RADER. Tipster
1 reported, “My radicalized [family member] Kenneth Bruce Rader Jr. from Sioux City, IA has
been sharing videos of himself on Capital [sic] grounds and inside the building and has verbally
articulated a full rage [sic] of threats against VP Mike Pence, stating that ‘We’re not done!’ …
‘watch what ‘we’ do after Trump is gone.’” Tipster 1 stated that he would attempt to provide to
the FBI the videos of KENNETH RADER at the U.S. Capitol Building.

        On August 19, 2021, the FBI sent a preservation letter to Facebook regarding an account
linked to KENNETH RADER that law enforcement officers had identified through open-source
investigation. The Facebook profile utilizes the username Kenny Rader, Facebook UID
1429678011, and Facebook URL kenny.rader.378. Among other items, that public-facing
Facebook page showed that the account holder updated his profile picture on November 7, 2020
to show a burning American flag. November 7, 2020 is the date on which President Joseph R.
Biden, Jr. was declared the winner of the 2020 presidential election.

        The Facebook page utilizing the username Kenny Rader also shows that on February 23,
2021, the account holder updated his cover photo to be a picture that includes a large Q. On March
18, 2021, the account holder updated his cover photo to refer to “the Great Awakening.” Through
my training and experience, I know that individuals associated with the QAnon conspiracy theory
believed that former President Donald J. Trump would be “reinaugurated” on March 20, 2021, and
that, at the moment of a “Great Awakening,” the general public would recognize a fantastical
conspiracy of Satan-worshipping pedophile Democratic politicians, abetted by celebrities, who
traffic children for sexual purposes. QAnon adherents professed belief that former President
Trump took office to battle and take down this cabal and would be reinaugurated to do so.

        On August 20, 2021, the FBI sent a preservation letter to Verizon for a telephone number
linked to KENNETH RADER that law enforcement officers had identified through open -source
investigation. The telephone number identified was XXX-XXX-2889.

       On September 3, 2021, Tipster 1 and Tipster 2, another family member of KENNETH
RADER, were interviewed by law enforcement officers regarding KENNETH RADER’s activities
on January 6, 2021. Tipster 1 and Tipster 2 stated that KENNETH RADER attended a rally in
Washington D.C. on January 6, 2021. He traveled to the rally with an unknown group. Tipster 1
and Tipster 2 alleged that KENNETH RADER stated that on January 6, 2021 he “made it in our
house,” allegedly in reference to his unlawful entry into the U.S. Capitol Building. KENNETH
RADER made several recordings of his activities which Tipster 1 and Tipster 2 shared with the


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law enforcement officers. One recording shows KENNETH RADER discussing his travel while
driving to the January 6 rally. Another video shows him walking down a street near the U.S.
Capitol stating President Trump did not tell them to do “this” and they are doing “this” on their
own. Tipster 1 and Tipster 2 stated that KENNETH RADER uses two telephone number, including
XXX-XXX-2889.

       In three audio recordings sent to Tipster 2 and subsequently shared with the FBI,
KENNETH RADER appears to be very agitated in response to text messages sent by Tipster 2.
KENNETH RADER and Tipster 2 had been engaged in a text message conversation regarding the
events KENNETH RADER had been involved in at the U.S. Capitol on January 6, 2021.

         Tipster 1 speculated that KENNETH RADER has a connection with the fringe conspiracy
group QAnon. Several months prior to September 2021, Tipster 1 was with KENNETH RADER
late at night. At approximately 2:30 a.m., KENETH RADER received a notification on his mobile
phone displayed as “Q.” In response to the notification, KENNETH RADER told Tipster 1 he was
“waiting for his instructions.”

        Although Tipster 1 previously reported to the FBI that KENNETH RADER shared videos
of himself inside the U.S. Capitol Building on January 6, 2021, neither Tipster 1 nor Tipster 2 were
able to verify that KENNETH RADER had entered the Capitol Building and none of the video
they shared with the FBI depicted KENNETH RADER inside the U.S. Capitol Building.

         On September 17, 2021, KENNETH RADER participated in a consensual interview with
FBI Agents. KENNETH RADER provided the cell phone number XXX-XXX-2889 as his primary
phone number. He stated that he uses Facebook as his only social media platform. The username
for his account is Kenny Rader. The account is not private and is open for anyone to view his posts.
During the interview, KENNETH RADER confirmed his presence at a rally near the Washington
Monument in Washington D.C. on January 6, 2021. He stated that he was not initially at the U.S.
Capitol Building grounds but walked to the Capitol grounds after hearing a “boom.” He further
stated he looked into the U.S. Capitol Building through an open door but never entered the building
itself.

        Pursuant to an authorized search warrant, law enforcement obtained records from Verizon
for cell towers providing service to the United States Capitol. Notwithstanding KENNETH
RADER’s statements to the contrary, the records show that the device associated with XXX-XXX-
2889 utilized a cell site consistent with providing service to the geographic area that includes the
interior of the United States Capitol Building on and around the time of the attack on the Capitol
on January 6, 2021.

        I subsequently reviewed security footage from cameras inside the U.S. Capitol Building
taken during the afternoon of January 6, 2021. One such video revealed that KENNETH RADER
unlawfully entered the U.S. Capitol Building on January 6, 2021. Security footage shows that at
approximately 14:14:29 EST, an individual wearing a blue hooded sweatshirt with the hood up
entered the U.S. Capitol Building through the Senate Wing Door. The individual entered through
a door that had been previously broken by other protesters. The individual faced the camera several
times and appears to be KENNETH RADER. The identification was based on two factors: (1)
facial comparison between the individual inside the Capitol and known photographs of KENNETH
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        On November 19, 2021, Tipster 1 and Tipster 2 provided statements during an interview
with an FBI Special Agent. Tipster 1 and Tipster 2 were shown three photographs of an individual
inside and outside the U.S. Capitol Building. Two of those photographs depicted an individual
wearing a blue hooded sweatshirt making a telephone call froma terrace of the U.S. Capitol Building,
on restricted U.S. Capitol Grounds, on January 6, 2021. The third photograph depicts the same
individual, wearing the same blue hooded sweatshirt, inside the U.S. Capitol Building on January
6, 2021. Tipster 1 stated that KENNETH RADER occasionallywears a fanny pack. Both Tipster 1
and Tipster 2 identified the individual shown in all three photographs as KENNETH RADER.
They based the identification on KENNETH RADER’s facial features with an emphasis on his
nose. Additionally, they recognized the hooded sweatshirtworn in the photographs as the same one
that KENNETH RADER wore in videos of himself in Washington D.C. on January 6, 2021 that he
shared with his friends and family. Tipster 1 providedan example video of KENNETH RADER
wearing the same blue hooded sweatshirt in Washington, D.C. on January 6, 2021, shown below:




       On December 7, 2021, legal process was issued to Facebook and Verizon seeking
subscriber information for accounts which were linked to KENNETH RADER. The referenced
Facebook account consisted of the following identifiers: username Kenny Rader, account UID
1429678011, Facebook URL Kenny.rader.378. The referenced Verizon account bears the
telephone number XXX-XXX-2889.

        On December 7, 2021, Facebook returned documentation in response to the legal process.
The information provided by Facebook identified the subscriber of the account as “Kenny Rader.”
Further account details provided link the account to KENNETH RADER via the registered
telephone numbers XXX-XXX-2889 and XXX-XXX-1691. These two telephone numbers were
previously provided by Tipster 1 and Tipster 2 as telephone numbers KENNETH RADER
currently used or had used in the past.




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       On December 9, 2021, Verizon returned documentation in response to the legal process.
The information provided by Verizon identified the subscriber of the account as “Kenneth Rader.”
Further account details provided link the account to KENNETH RADER via the registered email
                            and registered address located in Sioux City, Iowa.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KENNETH RADER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that KENNETH RADER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     MICHAEL BANFIELD
                                                     Special Agent
                                                     Federal Bureau of Investigation

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 11th day of January 2022.                                  G. Michael Harvey
                                                                              2022.01.11
                                                                              16:22:21 -05'00'
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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